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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

NANCY RINEHART, individually and on
behalf of all others similarly situated,

Plaintiff,
v.

AS AMERICA, INC. d/b/a American
Standard, a Delaware corporation and
SAFETY TUBS COMPANY, LLC, a
Delaware limited liability company,

Defendants.

 

 

CASE No. 3:16-cv-05128-MAS-
LHG

ORDER GRANTING
FINAL APPROVAL OF CLASS ACTION SETTLEMENT

WHEREAS, an alleged class action is pending before the Court entitled

Rinehart v. AS America, Inc., et al., Case No. 3:16-cv-05128-MAS-LHG; and

Pending before the Court are Plaintiff's Motion for Final Approval of Class

Action Settlement (dkt. 28) and Plaintiff's Motion for Attorneys’ Fees, Expenses

and Incentive Award (dkt. 27) (collectively, the “Motions”). The Court, having

reviewed the papers filed in support of the Motions, having heard argument of

counsel, and finding good cause appearing therein, hereby GRANTS Plaintiff's

Motions and it is hereby ORDERED, ADJUDGED, and DECREED THAT:

i Terms and phrases in this Order shall have the same meaning as
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ascribed to them in the Parties’ Class Action Settlement Agreement! (“Settlement
Agreement”).

a This Court has jurisdiction over the subject matter of this action and
over all Parties to the Action, including all Settlement Class Members.

Bs On March 26, 2018, this Court granted Preliminary Approval (dkt. 24)
of the Settlement Agreement and preliminarily certified a settlement class
under Rule 23(b)(2) and (b)(3).

4, The Settlement allows for the exclusion from the Settlement Class
those persons who submitted valid and timely requests for exclusion pursuant to
the Preliminary Approval Order and the Notice to the Settlement Class. No
requests for exclusion have been filed.

5. The Court finds that the Notice and the Notice Plan implemented
pursuant to the Settlement Agreement, which consists of individual notice sent via
first-class U.S. Mail postcard and the posting of relevant Settlement documents the
settlement website, supplemented by telephone calls to Class Members by Class
Counsel, has been successfully implemented and was the best notice practicable
under the circumstances and: (1) constituted notice that was reasonably calculated,

under the circumstances, to apprise the Settlement Class Members of the pendency

 

| Unless otherwise noted herein, capitalized terms have the same meaning as defined in the
Settlement Agreement.
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of the Action, their right to object to or to exclude themselves from the Settlement
Agreement, and their right to appear at the Final Approval Hearing; (2) was
reasonable and constituted due, adequate, and sufficient notice to all persons
entitled to receive notice; and (3) met all applicable requirements of the Federal
Rules of Civil Procedure, the Due Process Clause, and the Rules of the Court.

6. This Court now affirms certification of the Settlement Class under
(b)(2) and (b)(3), gives final approval to the parties’ Settlement, and finds that the
settlement is fair, reasonable, adequate, and in the best interests of the Settlement
Class. The settlement consideration provided under the Settlement Agreement
constitutes fair value given in exchange for the release of the Released Claims
against the Released Parties. The Court also finds that the consideration to be paid
to members of the Settlement Class is reasonable, considering the facts and
circumstances of the numerous types of claims and affirmative defenses asserted in
the Action, and the potential risks and likelihood of success of alternatively
pursuing trial on the merits. The complex legal and factual posture of this case,
and the fact that the Settlement Agreement is the result of arms’ length
negotiations between the Parties, including negotiations presided over by Joe
Epstein, a well-respected mediator, support this finding.

be The Court finds that both the Class Representative and Class Counsel

adequately represented the Settlement Class for the purposes of litigating this
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matter and for entering into and implementing the Settlement Agreement.
Accordingly, the Settlement Agreement is hereby finally approved in all respects,
and the Parties are hereby directed to implement and execute the Settlement
Agreement according to its terms and provisions.

8. Subject to the terms and conditions of the Settlement Agreement, the
Court hereby dismisses the Action on the merits and with prejudice and orders that
this Final Approval Order and Judgment shall constitute a final judgment under
Rule 54 that is binding on the parties and the Settlement Class.

9, Upon the Effective Date, Plaintiff and each and every Settlement
Class Member who did not timely opt out of the Settlement Class, shall have fully,
finally, completely and forever, released, acquitted and discharged Defendants and
any and all of their present or past heirs, executors, estates, administrators,
predecessors, successors, assigns, parents, subsidiaries, associates, employers,
employees, agents, consultants, independent contractors, insurers, directors,
managing directors, officers, partners, principals, members, attorneys, accountants,
financial and other advisors, investment bankers, underwriters shareholders,
lenders, auditors, investment advisors, legal representatives, successors in interest,
assigns and Persons, firms, trusts, corporations, officers, directors, other
individuals or entities in which Defendant has a controlling interest or which is

affiliated with any of them, or any other representatives of any of these Persons
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and entities, from any and all actual, potential, filed, known or unknown, fixed or
contingent, claimed or unclaimed, suspected or unsuspected, claims, demands,
liabilities, rights, causes of action, contracts or agreements, extracontractual
claims, punitive, exemplary or multiplied damages, expenses, ae attorneys’ fees,
fines, penalties, awards, interest (including pre-judgment interest), and all other
obligations whether in law or in equity, accrued or unaccrued, direct, individual or
representative, of every nature and description whatsoever, whether based on the
Telephone Consumer Protection Act or any other federal, state, local, statutory or
common law or any other law, rule or regulation, including the law of any
jurisdiction outside the United States (including both direct, vicarious, and
derivative claims) against the Released Parties, as defined in the parties’
Settlement Agreement, or any of them, relating to, based on, and/or arising out of
the facts, claims, causes of action, damages alleged or which could have been
alleged in the Action, including any alleged violations of the TCPA or any similar
federal, state, local, statutory or common law or any other similar law, rule or
regulation.

10. Upon the Effective Date, the above release of claims and the
Settlement Agreement will be binding on, and will have res judicata and preclusive
effect on all pending and future lawsuits or other proceedings maintained by or on

behalf of Plaintiff and all other Settlement Class Members and Releasing Parties.
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All Settlement Class Members who have not been properly excluded from the
Settlement Class are hereby permanently barred and enjoined from filing,
commencing, prosecuting, intervening in, or participating (as class members or
otherwise) in any lawsuit or other action in any jurisdiction based on or arising out
of the Released Claims.

11. The Court approves the agreed-upon Fee Award to Class Counsel.
The Court hereby awards to Class Counsel $174,000 in attorneys’ fees and costs.

12. In assessing the Fee Award, the Court has considered the results
achieved in this litigation, the risks of litigation, the skill required of Class Counsel
and the quality of their work, the contingent nature of the fee and the financial
burden carried by the Plaintiff, and awards made in similar cases.

13. In light of these factors, the Court finds this Fee Ayeenil to be fair and
reasonable. It represents 29% of the total settlement fund of $600,000 made
available to the Class, exclusive of the value of the prospective relief contained in
the Settlement Agreement, an amount consistent with other fee awards approved
by courts in this Circuit. Given the strong results of the Settlement a Fee Award of
29%, or $174,000, is reasonable.

14. The Court additionally finds this amount to be fair and reasonable
based upon a lodestar cross check. Class Counsel’s reported lodestar and the

additional work done since that time justifies the reasonableness of the fee award.
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Class Counsel set forth the hours spent and experience of each attorney working on
the case and his or her corresponding billable rate. The Court finds the rates

charged to be appropriate and reasonable in light of the experience of each attorney
and that the hourly rates are in line with comparable market rates. The Court finds
the hours expended to be reasonable when compared with the time and effort put
forth by Class Counsel and supporting counsel in investigating, litigating, and
resolving this case, as well as in light of the results achieved for the Settlement
Class in terms of both monetary and injunctive relief. Class Counsel’s total Fee
Award is inclusive of costs, which are likewise reasonable based on the
documentation and sworn declarations submitted.

15. The Fee Award is also supported by the response of the Class to the
Settlement Agreement. While there have been no objections or requests for
exclusion, the take rate in this case is in-line with the the typical range for
consumer class actions.

16. Defendant shall pay the Fee Award pursuant to and in the manner
provided by the terms of the Settlement Agreement.

17. The Court approves the agreed Incentive Award of $5,000.00, to
Class Representative Nancy as an Incentive Award for her role as Class
Representative. The Court finds this Incentive Award to be reasonable in light of

the Class Representative’s willingness and efforts with respect to taking on the
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risks of litigation and helping achieve the results to be made available to the
Settlement Class. Such payment shall be made pursuant to and in the manner
provided by the terms of the Settlement Agreement.

18. Additionally, the Court hereby approves the Parties’ cy pres designee,
Privacy Rights Clearinghouse located at 3033 Fifth Avenue, Suite 223, San Diego,
CA 92103. As set forth in paragraph 2.1(c) of the Settlement Agreement, to the
extent that a check issued to a Settlement Class Member is not cashed or
negotiated within one hundred twenty (120) days after the date of issuance, upon a
reasonable attempt to re-mail that Uncashed Check will be deemed void and shall
not be reissued, and such funds applicable to the Uncashed Check shall go to the cy
pres recipient, Privacy Rights Clearinghouse.

19. Except as otherwise set forth in this Order, the Parties shall bear their
own costs and attorneys’ fees.

20. This Court hereby directs entry of this Final Approval Order and
Judgment based upon the Court’s finding that there is no just reason for delay of
enforcement or appeal of this Final Approval Order and Judgment, notwithstanding
the Court’s retention of jurisdiction to oversee implementation and enforcement of
the Settlement Agreement.

21. Neither this Final Approval Order and Judgment and dismissal with

prejudice, the Settlement Agreement, the settlement that it reflects, nor any act,
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statement, document, or proceeding relating to the Settlement:

(a) is, may be deemed, or shall be used, offered, or received against
Defendant as an admission, concession, or evidence of the validity of any Released
Claims, the truth of any fact alleged by the Plaintiff, the deficiency of any defense
that has been or could have been asserted in the Action, or of any alleged
wrongdoing, liability, negligence, or fault of the Released Parties;

(b) is, may be deemed, or shall be used, offered, or received against
Plaintiff or the Settlement Class as an admission, concession, or evidence of the
infirmity or strength of any claims raised in the Action, the truth or falsity of any
fact alleged by Defendant, or the availability or lack of availability of meritorious
defenses to the claims raised in the Action;

(c) is, may be deemed, or shall be construed against Plaintiff and
the Settlement Class or against Defendant as an admission or concession that the
consideration to be given hereunder represents an amount equal to, less than, or
greater than that amount that could have or would have been recovered after trial;

(d) is, may be deemed, or shall be construed as or received in
evidence as an admission or concession against Plaintiff and the Settlement Class
or against Defendant that any of Plaintiff's claims are with or without merit and
that damages recoverable in the Action would have exceeded or would have been

less than any particular amount; or
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(e) — is, may be deemed, or shall be used, offered, or received against
Defendant as an admission or concession with respect to any liability, negligence,
fault, or wrongdoing as against any Parties to the Agreement in any civil, criminal,
or administrative proceeding in any court, administrative agency, or other tribunal.

22. The Parties, without further approval from the Court, are hereby
permitted to agree to and to adopt such amendments, modifications, and
expansions of the Settlement Agreement and its implementing documents
(including all exhibits to the Settlement Agreement) so long as they are consistent
in all material respects with the Final Approval Order and Judgment and do not
limit the rights of Settlement Class Members.

23. Without affecting the finality of this Final Approval Order and
Judgment in any way, this Court hereby retains continuing jurisdiction as to all
matters relating to administration, consummation, enforcement, and interpretation
of the Settlement Agreement and the Final Order, and for any other necessary

purpose.

IT 1S SO ORDERED,

Dated: g/ GUS MAb

Hon. Michael A. Shipp
United States District Judge
